            CASE 0:25-mj-00375-JFD   Doc. 8    Filed 06/18/25   Page 1 of 1
                                                                          2025R00345


                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                         Criminal No. 25-mj-375 (JFD)

UNITED STATES OF AMERICA,

                      Plaintiff,                  UNDER SEAL

       v.                                         MOTION TO UNSEAL

VANCE LUTHER BOELTER,

                      Defendant.

      The United States of America, by and through its attorneys, Joseph H.

Thompson, Acting United States Attorney for the District of Minnesota, and Harry

M. Jacobs, Assistant United States Attorney, hereby moves the Court for an order to

unseal the Complaint in the above-referenced matter.

      This motion is based upon the records and proceedings in this matter.

Specifically, the defendant is in custody, and the complaint has been dismissed by

order of the Court.


Dated: June 18, 2025                          Respectfully Submitted,

                                              JOSEPH H. THOMPSON
                                              Acting United States Attorney

                                              /s/ Harry M. Jacobs
                                              BY: HARRY M. JACOBS
                                              Assistant U.S. Attorney
